Case 1:25-cv-00034-GNS      Document 1        Filed 03/11/25   Page 1 of 11 PageID #: 1




                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF KENTUCKY
                        BOWLING GREEN DIVISION


JOEL PEYTON,
                                     Case No.1:25-CV-34-GNS

             Plaintiff,


                                        Chief Judge Gregory N. Stivers


                                        MAGISTRATE JUDGE



                v.                         COMPLAINT FOR
                                            DAMAGES AND
                                           DECLARATORY &
MASON BARNES, in his personal             INJUNCTIVE RELIEF
and official capacities as Simpson
County Judge Executive,               Under General Order 24-05, this
                                     Complaint does not seek statewide
                                           or nationwide relief



            Defendant.

                                INTRODUCTION

   1. This is a case to vindicate the First Amendment rights of Joel Peyton, who

was censored and otherwise restricted in his online speech when he filed an ethics

complaint related to violations by Simpson County officials.

   2. Joel Peyton seeks damages and a permanent injunction prohibiting Simpson

County Judge Executive Mason Barnes from illegally using his official social media

platform to restrict his First Amendment rights.


                                          1
Case 1:25-cv-00034-GNS        Document 1       Filed 03/11/25   Page 2 of 11 PageID #: 2




                                        PARTIES

   3. Plaintiff, Joel Peyton, is a citizen of Simpson County, Kentucky.

   4. Defendant, Mason Barnes, is a citizen of Simpson County, Kentucky and

Judge Executive of Simpson County, a position that empowers him as the “chief

executive of the county” and grants him “all the powers” and “duties of an executive

and administrative nature vested in, or imposed upon, the county or its fiscal court

by law, or by agreement with any municipality or other subdivision of government,

and such additional powers as are granted by the fiscal court.” KRS 67.710.

                             JURISDICTION AND VENUE

   5. This Court has jurisdiction under 28 U.S.C. §§ 1331 and 1343 because this

case raises federal claims arising under 42 U.S.C. § 1983 and the First Amendment

of the United States Constitution.

   6. Plaintiff brings his claims for declaratory and injunctive relief pursuant to 28

U.S.C. §§ 2201 and 2202, Federal Rules of Civil Procedure 57 and 65, Ex parte

Young, 209 U.S. 123 (1908), and the general legal and equitable powers of this

Court. Plaintiff also seeks nominal monetary damages as relief.

   7. Venue is proper in this Court because Defendant is located in the Western

District of Kentucky, Bowling Green Division, 28 U.S.C. § 1391(b)(1), and a

substantial part of the events giving rise to Plaintiff’s claims occurred in this

district, 28 U.S.C. § 1391(b)(2).

                                FACTUAL ALLEGATIONS




                                           2
Case 1:25-cv-00034-GNS          Document 1        Filed 03/11/25   Page 3 of 11 PageID #: 3




   8. Mason Barnes operates an official Facebook page titled “Mason Barnes –

Simpson County Judge Executive.” The page is regularly used to communicate with

the public about Barnes’s official actions as Judge Executive including updates on

County projects, office closures, hiring, official events and government

announcements. The page introduction reads: “I look forward to representing all the

people of Simpson County in a fair and respectable manner.”1 The Facebook page’s

official website is the official website for Simpson County, Kentucky.2




1 See Mason Barnes - Simpson County Judge Executive, https://www.facebook.com/people/Mason-

Barnes-Simpson-County-Judge-
Executive/100064836215265/?mibextid=wwXIfr&rdid=QbB0SadsrortO6oK&share_url=https%3A%2
F%2Fwww.facebook.com%2Fshare%2F19ovaRQgXS%2F%3Fmibextid%3DwwXIfr
2 https://simpsoncountyky.gov


                                              3
Case 1:25-cv-00034-GNS       Document 1        Filed 03/11/25   Page 4 of 11 PageID #: 4




   9. In 2023, Joel Peyton learned that his local government Industrial Authority

was planning to purchase farmland near his neighborhood to build warehouses or

recruit factories. Peyton and his neighbors organized a group to fight against the

plans.

   10. Peyton filed various open records requests and discovered credit card charges

by the Industrial Authority director that appeared personal. Soon after that

discovery, the director resigned, and the Industrial Authority abandoned the land

purchases.

   11. Peyton also concluded from his open records requests that Mason Barnes, his

county Judge Executive, who is a non-voting member of the Industrial Authority,

encouraged the land purchases. The Industrial Authority also sold a parcel of land

to a resident to build a house. Barnes, who owns a construction company, was to

build the house. That construction started in 2024, even though the land was still

zoned as an interstate interchange business district, not as a residential district.

   12. Peyton observed the County Fiscal Court Meetings where the final zone

change adoption votes took place and determined that Barnes had not disclosed his

personal business affiliation nor recused himself from voting, in violation of the

Simpson County Code of Ethics.

   13. In June 2024, Peyton filed an ethics complaint with his regional ethics board

related to Barnes’s suspected ethics violations.

   14. The Ethics Board hearing was held in January 2025. The Board concluded

Barnes had violated the ethics code.



                                           4
Case 1:25-cv-00034-GNS      Document 1        Filed 03/11/25   Page 5 of 11 PageID #: 5




   15. On or around February 10, 2025, after the results of the ethics hearing were

released, Barnes blocked Peyton from accessing his County-affiliated Facebook

page. This prevents Peyton from viewing Barnes’s Facebook page altogether,

including information posted by Barnes or comments by other members of the

community. This also prevents Peyton from commenting on Barnes’s page.

   16. That day, a post on Barnes’s official Facebook page referred to Peyton’s

neighborhood group and complained that “one of the members of the small citizen

group started filing copious amounts of open records requests.” Barnes named

Peyton and others who had signed the ethics complaint.

   17. When Peyton tried to access Barnes’s official Facebook page, he received this

notice:




                                          5
Case 1:25-cv-00034-GNS       Document 1        Filed 03/11/25   Page 6 of 11 PageID #: 6




   18. On February 14, 2025, Barnes posted again on his official Facebook page

about the Ethics Board’s investigation and findings, stating that “the group of

complainants were purely politically motivated by my stance on Industrial

expansion[.]”

   19. Peyton remains blocked by Barnes, unable to view the page or comment on

posts, as of the date of this Complaint.

                                CLAIMS FOR RELIEF

                                    COUNT ONE
                   42 U.S.C. § 1983 – First Amendment Violation

    Mason Barnes violated Joel Peyton’s First Amendment rights when he
             blocked him from his official social media page.

   20. Plaintiff incorporates the preceding paragraphs by reference.

   21. The First Amendment states, “Congress shall make no law . . . abridging

the freedom of speech.” U. S. Const. amend. I.

   22. A government official can be held liable under 42 U.S.C. § 1983 for violating

the First Amendment—which applies to state and local governments through the

Fourteenth Amendment—when the official blocks an individual from the official’s

social media page or deletes an individual’s comments from the page. Lindke v.

Freed, 601 U.S. 187, 202 (2024) (recognizing, among other things, that counties and

municipalities engage in state action when they operate social media pages).

   23. The First Amendment prohibits State actors from engaging in viewpoint

discrimination in public forums, and “[v]iewpoint discrimination is apparent . . . if a

government official’s decision to take a challenged action was impermissibly



                                           6
Case 1:25-cv-00034-GNS       Document 1        Filed 03/11/25   Page 7 of 11 PageID #: 7




motivated by a desire to suppress a particular point of view.” Davison, 912 F.3d at

687 (quotation omitted).

   24. By attempting to suppress any suggestion that he might be violating the

Simpson County Code of Ethics and blocking Peyton from viewing his official

Facebook page in retaliation for Peyton uncovering his ethics violations, Barnes

engaged in unlawful viewpoint discrimination.

   25. The First Amendment’s protection is “at its zenith” when applied to “core

political speech.” Buckley v. Am. Constitutional Law Found., 525 U.S. 182, 187

(1999) (quoting Meyer v. Grant, 486 U.S. 414, 425 (1988)).

   26. Barnes’s ethics violations are precisely such a matter of political speech;

Peyton’s speech was of political importance, decrying the unethical actions of a

public official in violation of the County Code of Ethics.

   27. By blocking Peyton because of his viewpoint, Barnes prohibited Peyton from

accessing a public forum and expressing his opinions in that forum. Such behavior

deprives Peyton of his clearly established First Amendment right to free speech.

   28. In Lindke v. Freed, the Supreme Court ruled that an official’s action of

blocking a citizen from their social media page constitutes state action “if the official

(1) possessed actual authority to speak on the State’s behalf, and (2) purported to

exercise that authority when he spoke on social media.” 601 U.S. at 191.

   29. As to the first factor, Barnes holds the elected office of Judge Executive in

Simpson County. The Kentucky Revised Statutes grant broad executive and

administrative power to the Judge Executive; “[t]he county judge/executive shall be



                                           7
Case 1:25-cv-00034-GNS         Document 1       Filed 03/11/25   Page 8 of 11 PageID #: 8




the chief executive of the county and shall have all the powers and perform all the

duties of an executive and administrative nature vested in, or imposed upon, the

county or its fiscal court by law, or by agreement with any municipality or other

subdivision of government, and such additional powers as are granted by the fiscal

court. The county judge/executive shall be responsible for the proper administration

of the affairs of the county placed in his charge.” KRS 67.710. This indicates that

Barnes had actual authority to speak on the Commonwealth and County’s behalf,

satisfying the first factor.

   30. The second factor requires a fact-specific undertaking to analyze the

“appearance and function of the social-media activity” to determine whether the

individual was using “speech in furtherance of his official responsibilities.” Lindke,

601 U.S. at 197.

   31. Under Lindke’s framework, Barnes was clearly “speaking in his official

capacity” through the Facebook page. For example, there is no “disclaimer” that the

views expressed are strictly “personal”; rather it is marked as a “community” page

which became the official public-facing page of the Judge Executive’s office after his

election. The page’s name change history is reproduced below:




                                            8
Case 1:25-cv-00034-GNS       Document 1       Filed 03/11/25   Page 9 of 11 PageID #: 9




   32. Moreover, when an individual is blocked, as Peyton is, “on a page-wide basis,

a court [must] consider whether [the official] had engaged in state action with

respect to any post on which [the blocked individual] wished to comment.” Lindke,

601 U.S. at 204 (emphasis added).

   33. Barnes’s official Facebook page was intended for public announcements

related to his public office. Barnes regularly uses the page to communicate with the

public about executive and administrative announcements related to his official

position. Therefore, Barnes was authorized and did purport to speak on behalf of

the County government when he posted on his official Facebook page. His blocking

of Peyton is therefore state action.

   34. Peyton is entitled to a permanent injunction ordering Barnes to refrain from

suppressing his First Amendment rights.




                                          9
Case 1:25-cv-00034-GNS      Document 1     Filed 03/11/25   Page 10 of 11 PageID #: 10




   35. Peyton is further entitled to a declaratory judgment declaring that

Defendant violated his First Amendment free speech rights by blocking Peyton from

Barnes’s official Facebook page.

   36. Peyton is also entitled to monetary damages against Defendant for

deprivation of his First Amendment free speech rights.

                              PRAYER FOR RELIEF

   Plaintiff respectfully requests that this Court:

      A. Set a trial by jury of the allegations set forth in this Complaint;

      B. Enter judgment in the Plaintiff’s favor;

      C. Enter a preliminary and permanent injunction ordering Barnes, his

   agents, employees, officers and all other persons in active concert or

   participation with him to refrain from blocking Peyton or other members of the

   public from interacting with Barnes’s official Facebook page;

      D. Enter declaratory judgment declaring that Barnes violated Peyton’s First

   Amendment right to freedom of speech when he blocked him from making

   comments on his official Facebook page;

      E. Award Peyton monetary damages for Defendant’s violations of his

   constitutional rights;

      F. Award Peyton his attorneys’ fees and costs as a prevailing party under 42

   U.S.C. § 1988; and

      G. Grant Peyton all further relief that the Court deems just, proper, or

   equitable at law or equity.



                                          10
Case 1:25-cv-00034-GNS   Document 1   Filed 03/11/25   Page 11 of 11 PageID #: 11




Dated: March 11, 2025        Respectfully submitted,

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                                      11
